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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,

                Plaintiffs,

           v.

 XAVIER BECERRA, Secretary of the United           Civ. Action No. 7:16-cv-00108-O
 States Department of Health and Human
 Services, et al.,

                Defendants,

 - and -

 AMERICAN CIVIL LIBERTIES UNION OF
 TEXAS; and RIVER CITY GENDER
 ALLIANCE,

                Intervenors-Defendants.



                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Proposed Intervenors River City Gender Alliance and the

American Civil Liberties Union of Texas hereby appeal to the United States Court of Appeals for

the Fifth Circuit from this Court’s Memorandum Opinion and Order, ECF No. 206, as modified

by the Court’s Order granting Defendants’ Rule 60(b) Motion to Modify Order, ECF No. 211,

and all prior orders and decisions that merge into those orders.
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Dated: November 30, 2021
                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of November, 2021, I electronically filed the

foregoing with the clerk of the court for the U.S. District Court, Northern District of Texas, using

the electronic case filing system of the Court. I hereby certify that I have served counsel of

record for all parties through the Court’s ECF system.

                                      By:     /s/ Lindsey Kaley
                                              LINDSEY KALEY
